           Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 1 of 18



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


   Ocean Spray Cranberries, Inc.,      )
                                       )
                Plaintiff,             )
                                       )
          v.                           )                 C.A. No. 1:21-10669-MLW
                                       )
   Wedge Water, LLC                    )
   d/b/a/ Wave Soda,                   )
                                       )
                Defendant              )
   ____________________________________)

                           DECLARATION OF JANET F. SATTERTHWAITE

       1. I am over 18 years of age and suffer no legal disabilities that prevent my filing this

declaration.

       2. My law firm is counsel to Defendant Ocean Spray Cranberries, Inc. (“Ocean Spray”).

       3. A phenomenon in social media is the use of paid “influencers” to talk up a brand.

       4. It appears that Steph Barkley is a paid influencer for Wedge Water, LLC. The photo

below is a screen shot from her Instagram feed. It appears to be dated May 20, 2020, and announces

a “paid partnership with Newwavesoda.”




                                                    1
           Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 2 of 18




        5. An Instagram video posted by Steph Barkley on or about April 15, 2021, appears to

accuse Ocean Spray of knocking off New Wave Soda’s product.

        6. The April 15 post does not appear close to the post from May 2020 announcing the paid

relationship.

        7. Our paralegal saved a copy of this video post on or about April 20, 2021, and we can

provide a copy to the Court if requested to do so.

        8. I provide here what I believe is an accurate account of what Ms Barkley said in her post.

        9. Ms Barkley claims that a link to web page featuring the Ocean Spray Wave product was

sent to her by “a friend.”

        10. She says, “you guys know I love Wave Soda.”

        11. She then says, “And then Ocean Spray with tons of manpower, can just come in and be

like ‘we made Wave Soda, just now.’ And I’m thinkin’, wow, is that how it works—big businesses

can just bully small businesses like that?”

        12. She mentions that the OCEAN SPRAY WAVE product has the same ingredients as

Wave Soda.

        13. She does not disclose in this post, however, that she is a paid influencer for New Wave

Soda.

        14. Wedge Water comments favorably on her post, without disclosing the relationship:

                   newwavesoda
                   Wow thank you Stephanie! Feeling the love ❤ We are aware of Ocean Sprays
                   eerily familiar product, and hope to be able to come to a friendly agreement soon.
                   Thank you everyone for your support. You guys are rad �

        15. Exhibit A hereto is an excerpt from Wedge Water’s website. www.wavesoda.com. The

web page says



                                                     2
            Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 3 of 18




                   WHAT IS THE STORY BEHIND YOUR GRAPHICS?

                   They’re all based around the California surf culture! It all started with a sign.

                   When our CEO and Founder, Nat, would rock his baby to sleep, he would look at
                   a sign that highlighted some of the best surf beaches along the coast of California.
                   This sign was the inspiration for our graphics!

                   If you look at a can of our flavored sparkling water, you will notice that there is a
                   different beach highlighted on each flavor of our cans. Our Blackberry
                   Soda highlights Stinson, Tangerine Soda is Mavericks, Apple Soda is
                   Rincon, Grapefruit Soda is Malibu, Mango Soda is Huntington Beach, Cucumber
                   Soda is The Wedge, and Blueberry Soda is Ocean Beach.

                   We have other hidden graphics on our cans of healthy soda. Can you figure out
                   what they are?

         16. According to Wikipedia, AB InBev is a shorthand for Anheuser-Busch InBev SA/NV,

one of the world’s largest drink and brewing companies.

         17. According to www.zx-ventures.com, ZX Ventures is a venture capital company affiliated

with AB InBev, with a “mandate from Anheuser-Busch InBev to nurture, support, and grow the

products and services of tomorrow. We build, grow and invest in businesses across industries – from

consumer products to technology and everything in between.”

         18. On Monday, May 10, 2021, at 12:28 am, I received an email from counsel for Wedge

Water, Andrew Levine, asking for a telephone call at 10:30 a.m. Pacific Time that day. Exhibit B

hereto is a copy of his email requesting a call. He did not state the purpose of the call.

         19. We agreed to the time and had the call. On that call, Mr. Levine demanded again that we

provide him with discovery in the California case that he had previously demanded by email (Dckt

12 Exh 8). We refused. He said he was going to file a motion to obtain early discovery.

         20. We reminded him that venue has not yet been decided, and that our Motion to Stay is

currently pending in the California litigation, seeking a stay pending this Court’s determination as to

venue.


                                                      3
           Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 4 of 18




       21. We offered to jointly request that the California Court expedite the briefing schedule on

the Motion to Stay, but Mr. Levine refused.

       22. Exhibit C hereto is Mr. Levine’s subsequent email to us and our response.

   I declare under penalty of perjury that the foregoing is true and correct to the best of my

   knowledge and recollection.




   Date: May 10, 2021                                    /s/ Janet Satterthwaite
                                                         Janet Satterthwaite
                                                         (Pro hac vice motion filed)
                                                         Potomac Law Group
                                                         Suite 700
                                                         1300 Pennsylvania Ave NW
                                                         Washington DC 20004
                                                         jsatterthwaite@potomaclaw.com
                                                         Tel: 202-486-1578



                                        CERTIFICATE OF SERVICE

           I hereby certify that on this 10th day of May, 2021, the foregoing Declaration was

   electronically filed with the Clerk of the Court using the CM/ECF system and will be sent

   electronically to registered participants as identified on the Notice of Electronic Filing (NEF) and

   paper copies will be sent to those indicated as non-registered participants.



                                                         /s/John R. Snyder




                                                    4
Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 5 of 18




                    Exhibit A
                        Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 6 of 18
What Is The Story Behind Your Soda Water Graphics?                                          5/10/21, 6:20 PM




                 WHAT IS THE STORY BEHIND
                                        INGREDIENTS

                                                                         DRINKS      MERCH
                                                                                      SIGN IN            0
                 YOUR GRAPHICS?                                                     LEARN

                 Kylee Hoynacki January 4, 2018




                 WHAT IS THE STORY BEHIND

                 YOUR GRAPHICS?

                 They’re all based around the California
                 surf culture! It all started with a sign.
https://wavesoda.com/blogs/blog/what-is-the-story-behind-your-graphics                           Page 1 of 6
                        Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 7 of 18
What Is The Story Behind Your Soda Water Graphics?                                         5/10/21, 6:20 PM




                 surf culture! It all started with a sign.
                 When our CEO and Founder, Nat, would
                 rock his baby to sleep, he would look at a
                 sign that highlighted some of the best
                 surf beaches along the coast of California.
                 This sign was the inspiration for our
                 graphics!
                 If you look at a can of our Cavored
                 sparkling water, you will notice that there
                 is a different beach highlighted on each
                 Cavor of our cans. Our Blackberry
                 Soda highlights Stinson, Tangerine
                 Soda is Mavericks, Apple Soda is
                 Rincon, Grapefruit Soda is Malibu, Mango
                 Soda is Huntington Beach, Cucumber
                 Soda is The Wedge, and Blueberry
                 Soda is Ocean Beach.
                 We have other hidden graphics on our
                 cans of healthy soda. Can you Lgure out
                 what they are?
                 Check out another blog!




https://wavesoda.com/blogs/blog/what-is-the-story-behind-your-graphics                          Page 2 of 6
                        Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 8 of 18
What Is The Story Behind Your Soda Water Graphics?                                         5/10/21, 6:20 PM




                 FILTER BY


                    apple


                    blackberry


                    Blueberry


                    Cucumber


                    FAQ


                    Grapefruit


                    Mango


                    Tangerine


                    Wave




    About

    More Wave

https://wavesoda.com/blogs/blog/what-is-the-story-behind-your-graphics                          Page 3 of 6
                        Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 9 of 18
What Is The Story Behind Your Soda Water Graphics?                                         5/10/21, 6:20 PM




    Help

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                                                                     About
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                                                            Bigger Than A Can


                                                            Influencers


                                                            Download App

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                       Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 10 of 18
What Is The Story Behind Your Soda Water Graphics?                                                                5/10/21, 6:20 PM




                                                               Help
                                                               My Account


                                                               Track Order


                                                               Contact Us


                                                               Returns Policy


                                                               Terms of Service


                                                               Privacy Policy


                                                           Send Me A coupon
       First name                                                           Last name



      Email address


                                                                    SIGN UP




                                                     !             "        #              $

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                                                          - 5:00pm Pacific Standard Time




https://wavesoda.com/blogs/blog/what-is-the-story-behind-your-graphics                                                 Page 5 of 6
                       Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 11 of 18
What Is The Story Behind Your Soda Water Graphics?                                         5/10/21, 6:20 PM




https://wavesoda.com/blogs/blog/what-is-the-story-behind-your-graphics                          Page 6 of 6
Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 12 of 18




                     Exhibit B
                    Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 13 of 18                                     5/10/21, 6:21 PM




      Wave Soda v Ocean Spray
      Andrew Levine <levine@braunhagey.com>
      Mon 5/10/2021 12:28 AM
      To: Janet Satterthwaite <jsatterthwaite@potomaclaw.com>

      ⚠ EXTERNAL

      Janet – Hope you had a nice weekend. Do you have a moment tomorrow to chat? How does
      10:30 am PT work for you? Thanks.

      Andrew Levine
      BRAUNHAGEY & BORDEN                 LLP

      Direct: (415) 599-0207

      San Francisco
      351 California St., 10th Floor
      San Francisco, CA 94104
      Tel. & Fax: (415) 599-0210

      New York
      7 Times Square
      27th Floor
      New York, NY 10036-6524
      Tel. & Fax: (646) 829-9403

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Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 14 of 18




                     Exhibit C
                   Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 15 of 18                                    5/10/21, 6:22 PM




      Re: Wave Soda v. Ocean Spray, No. 21-809 GPC BLM (S.D. Cal. 2021)
      Janet Satterthwaite <jsatterthwaite@potomaclaw.com>
      Mon 5/10/2021 2:55 PM
      To: Andrew Levine <levine@braunhagey.com>; Julia Anne Matheson <jmatheson@potomaclaw.com>; Marci Lerner
      Miller <mmiller@potomaclaw.com>
      Cc: Toby Rowe <rowe@braunhagey.com>; Gunnar Martz <Martz@braunhagey.com>; Gunnar Martz
      <Martz@braunhagey.com>


      Andrew,



      You are correct that we refused to provide you with discovery responses over
      the phone and instead advised you that we planned to follow the rules. We
      are not aware of any obligation we have to provide you with discovery in
      response to an email or a phone call. Nor is it appropriate for you to assume
      that because we did not provide you with any such information, that your
      assumptions about our client's alleged plans and intentions to rapidly expand
      distribution of its product are somehow proven.

      We also note that you said you wanted to have a call today, but did not tell us
      why you wanted to talk to us. In future, if you wish to schedule a meet and
      confer, we expect you to tell us the purpose of the requested call.

      According to your April 9 demand letter, it is beyond obvious, in your view, that
      Ocean Spray is infringing, so we do not see why now, suddenly, you need
      discovery before you can even file a PI motion. As noted on our call, we
      interpret your claimed need for discovery as an admission that you do not
      have grounds for a PI without a fishing expedition.

      We asked why you need discovery before filing a PI. You claimed that you
      need discovery to make your motion "stronger." That does not meet any
      standard for ex parte emergency discovery.

      Your email also fails to note that we explained on our call today that it was
      inappropriate for you to move ahead in the California case before the
      Massachusetts Court has decided your motion to transfer.

      We also do not understand why your motion need to be ex parte. We need to

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                   Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 16 of 18                                   5/10/21, 6:22 PM



      have an opportunity to oppose it and plan to do so. We also note your
      continued failure, despite multiple reminders, to file a notice of related case
      with the Court. We now find that suspicious.

      You are not happy that you failed to anticipate that we would file in
      Massachusetts, but the fact remains that we did. Massachusetts is the first-
      filed forum, and you need to wait until venue is determined before moving
      forward. It appears that your preference of your local court outweighs any
      sense of true urgency around seeking a PI. As we noted, if you truly believed
      that a PI was so urgent, you would seek it in Massachusetts in order to get to
      the merits as soon as possible, and not waste time arguing over venue.

      We also offered in our call today to propose jointly to the California court that
      the Court expedite the briefing and hearing schedule on the motion to stay.
      You refused, and dismissed our motion to stay as irrelevant because you think
      we should not have filed first.

      Janet


      Janet F. Satterthwaite | Partner/ Chair, Trademark Practice | Potomac Law Group, PLLC
      1300 Pennsylvania Avenue, NW, Suite 700
      Washington, D.C. 20004
      Tel: (202) 486-1578 | Fax: (202) 318-7707
      jsatterthwaite@potomaclaw.com | www.potomaclaw.com

      https://www.potomaclaw.com/professionals-janet-f-satterthwaite




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      From: Andrew Levine <levine@braunhagey.com>
      Sent: Monday, May 10, 2021 2:12 PM
      To: Janet Satterthwaite <jsatterthwaite@potomaclaw.com>; Julia Anne Matheson
      <jmatheson@potomaclaw.com>; Marci Lerner Miller <mmiller@potomaclaw.com>

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                    Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 17 of 18                                     5/10/21, 6:22 PM



      Cc: Toby Rowe <rowe@braunhagey.com>; Gunnar Martz <Martz@braunhagey.com>; Gunnar
      Martz <Martz@braunhagey.com>
      Subject: Wave Soda v. Ocean Spray, No. 21-809 GPC BLM (S.D. Cal. 2021)

      ⚠ EXTERNAL
      Janet / Julie –

      On March 3, 2021, Plaintiff Wedge Water LLC dba Wave Soda (“Wave’) requested that Defendant
      Ocean Spray Cranberries, Inc. (“Ocean Spray”) provide Wave with information regarding a narrow
      set of topics related to Wave’s contemplated motion for preliminary injunction, which will seek to
      protect Wave from further irreparable harm occasioned by Ocean’s Spray launch of its infringing
      products via Walmart and Sam’s Club and its likely imminent expansion into additional retail
      channels. Ocean Spray refused to provide the requested information.

      Earlier today at 10:30 am PT, we spoke by telephone to reiterate Wave’s request for the
      information identified in my May 3, 2021 email and to provide notice of Wave’s intend to file an ex
      parte application later today with Judge Curiel. As with our previous exchange, you indicated that
      Ocean Spray would not provide the requested information and will oppose Wave’s application. I
      also note that during our call I asked whether Ocean Spray had imminent plans to launch its
      infringing Ocean Spray WAVE product into new retail channels in the near future. You refused to
      answer.

      Please take this as formal notice (following up on our March 3 exchange and call this morning) that
      later today, May 10, 2021, Wave intends to file an Ex Parte Application For Expedited Discovery in
      Support of Preliminary Injunctive Relief.

      Regards,
      Andrew


      Andrew Levine
      BRAUNHAGEY & BORDEN                 LLP

      Direct: (415) 599-0207

      San Francisco
      351 California St., 10th Floor
      San Francisco, CA 94104
      Tel. & Fax: (415) 599-0210

      New York
      7 Times Square
      27th Floor
      New York, NY 10036-6524
      Tel. & Fax: (646) 829-9403

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                   Case 1:21-cv-10669-MLW Document 18-1 Filed 05/10/21 Page 18 of 18                                   5/10/21, 6:22 PM




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